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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


COLLEEN J. MILES, et al.                            *

       Plaintiffs                                   *

vs.                                                 *       Civil Action No.: JKB-15-1591

STEPHAN U. HOCHULI, M.D.., et al.                   *

       Defendants                                   *

       *       *      *       *      *       *      *       *      *          *    *      *

                                   SETTLEMENT ORDER
                                    (LOCAL RULE 111)


       This Court has been advised by the parties that the above action has been settled AS TO

DEFENDANT, CARROLL HOSPITAL CENTER, INC. ONLY, including all counterclaims,

cross-claims and third-party claims, if any. Accordingly, pursuant to Local Rule 111 it is

ORDERED that:

       Defendant, Carroll Hospital Center, Inc. is hereby dismissed and each party is to bear its

own costs unless otherwise agreed, in which event the costs shall be adjusted between the parties

in accordance with their agreement. The entry of this Order is without prejudice to the right of a

party to move for good cause within 30 days to reopen this action if settlement is not

consummated. If no party moves to reopen, the dismissal shall be with prejudice.

       THIS CASE WILL CONTINUE WITH RESPECT TO THE REMAINING

DEFENDANT, STEPHAN U. HOCHULI, M.D.

Date: February 9, 2016                                                  /s/
                                                    James K. Bredar
                                                    United States District Judge
